Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 1 of 7 PageID #: 1




                     IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF WEST VIRGINIA
                               Martinsburg Division

 DAVID KNISELY,                      )
                                     )
        Plaintiff,                   )
                                     )
 v.                                                        3:14-cv-15 (Groh)
                                     ) Civil Action No. _____________
                                     )
 NATIONAL BETTER LIVING ASSOCIATION, ) Electroncially Filed January 29, 2014
 INC., AMERICAN MEDICAL AND LIFE     )
 INSURANCE COMPANY, and JOHN/JANE    )
 DOES,                               )
                                     )
        Defendants.                  )

                                   NOTICE OF REMOVAL

        COMES NOW Defendant National Better Living Association, Inc. (“NBLA”) and,

 pursuant to 28 U.S.C. Sections 1331, 1332, 1367(a), 1441, and 1446, hereby gives notice of

 removal of this action from the Circuit Court of Jefferson County, West Virginia, to the United

 States District Court for the Northern District of West Virginia, Martinsburg Division. In

 support of this removal, NBLA states as follows:

 I.     INTRODUCTION

        1.     NBLA is named as a defendant in a civil action commenced by Plaintiff David

 Knisely (the “Plaintiff”) in the Circuit Court of Jefferson County, West Virginia, Civil Action

 No. 13-C-443 (the “State Action”).

        2.     Plaintiff commenced the State Action on December 12, 2013, by filing the

 Complaint.

        3.     The claims in the Complaint all relate to Plaintiff’s alleged purchase of a

 membership from NBLA under which he enrolled in a group insurance policy issued by
                                                                                       8523954 v4
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 2 of 7 PageID #: 2




 Defendant American Medical and Life Insurance Company (“AMLI”) to NBLA. (Compl. ¶ ¶ 3,

 5, 11, 12). Plaintiff alleges that his purchase of the membership was a direct result of

 Defendants’ alleged “concerted scheme of soliciting vulnerable consumers for junk insurance. . .

 by way of fraud, bad faith, civil conspiracy, and racketeering.” (Compl. ¶ 1).

 II.    PROCEDURAL REQUIREMENTS OF REMOVAL

        4.      Pursuant to 28 U.S.C. §§ 1441(a) and 1446(a), NBLA removes the State Action to

 the United States District Court for the Northern District of West Virginia, Martinsburg Division,

 the judicial district and division in which the State Action is pending. See 28 U.S.C. § 129.

        5.      NBLA received a copy of the Complaint and summons on December 30, 2013.

 Pursuant to 28 U.S.C. Section 1446(b), NBLA is filing this Notice of Removal within thirty (30)

 days of its receipt of the Complaint and summons.

        6.      Defendant AMLI consents to removal.            Counsel for AMLI has executed a

 Consent to Removal, which is attached as Exhibit A.

        7.      In accordance with 28 U.S.C. Section 1441(a), copies of all process, pleadings, or

 orders served upon NBLA in the State Action are attached as Exhibit B.

        8.      In accordance with 28 U.S.C. Section 1441(a), NBLA promptly will serve written

 notice of the filing of this Notice of Removal upon all parties, and will file with the Clerk of the

 Circuit Court of Jefferson County, West Virginia, a copy of this Notice of Removal. A copy of

 the Notice of Removal of the State Action to Federal Court is attached hereto as Exhibit C.

 III.   GROUNDS FOR FEDERAL JURISDICTION

        9.      This Court has subject matter jurisdiction of this action on two independent

 grounds, i.e. federal question jurisdiction and diversity jurisdiction.

                                                                                            8523954 v4


                                              -2-
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 3 of 7 PageID #: 3




         A.      FEDERAL QUESTION JURISDICTION

         10.     This case is removable based on federal question jurisdiction, under 28 U.S.C. §

 1331, because Plaintiff asserts claims arising under the laws of the United States. In Count I of

 the Complaint, Plaintiff asserts that Defendants violated the Racketeer Influenced and Corrupt

 Organizations Act, 18 U.S.C. Sections 1962(c) and 1962(d) (“RICO”). (Compl. ¶¶ 70-84).

 RICO claims are removable. See Dillow v. Polk, 3:12-CV-98, 2012 WL 6681885, at *4 (N.D.

 W. Va. Dec. 21, 2012) (recognizing that federal courts have original jurisdiction over RICO

 claims regardless of concurrent state court jurisdiction). Cases may be removed based on federal

 question jurisdiction “without regard to the citizenship or residence of the parties.” U.S.C. § 1441(b).

         11.     Putting aside diversity jurisdiction, discussed infra, all other claims in the

 Complaint are subject to the Court’s supplemental jurisdiction because such claims “are so

 related to claims in the action within such original jurisdiction that they form part of the same

 case or controversy.” 28 U.S.C. § 1367(a); see also Dillow, 2012 WL 6681885, at *6 (exercising

 supplemental jurisdiction over West Virginia consumer protection and contract law claims where

 plaintiff asserted RICO claim).

         B.      Diversity Jurisdiction

         12.     In addition, this case is removable based on diversity jurisdiction, under 28 U.S.C.

 § 1332(a), because the matter in controversy exceeds the sum or value of $75,000, exclusive of

 interest and costs, and is between citizens of different States.

         13.     Plaintiff is an individual citizen of West Virginia. (Compl. ¶ 4).

         14.     Defendant NBLA is a citizen of Georgia, as it is incorporated in Georgia and has

 its principal place of business in Georgia. See 28 U.S.C. § 1332(c)(1).

                                                                                                    8523954 v4


                                                -3-
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 4 of 7 PageID #: 4




        15.     Defendant AMLI is a citizen of New York, as it is incorporated in New York and

 has its principal place of business in New York. See 28 U.S.C. § 1332(c)(1).

        16.     As the parties are citizens of different states, complete diversity exists.

        17.     The Complaint demands damages and compensation in an amount to be

 determined by a jury, statutory damages, treble damages, disgorgement of profits, punitive

 damages, pre- and post-judgment interest and costs, and reasonable attorneys’ fees and costs.

 (Compl. at 21).

        18.     While the Complaint does not identify the total compensatory damages sought by

 the Plaintiff, the Complaint alleges that Plaintiff has incurred medical bills of more than $60,000

 (Compl. ¶ 56) and that NBLA “illegally deducted” over $8,000. (Compl. ¶ 61). Accordingly,

 the total compensatory damages sought appear to be in the range of $60,000 to $68,000.

        19.     Were Plaintiff to succeed on Count I, he would be authorized to receive an award

 of treble damages under 18 U.S.C. Section 1964(c).            (Compl. ¶ 84).      Based on alleged

 compensatory damages of $68,000, the treble damage award would be $204,000.

        20.     Were Plaintiff to succeed on Count II, which alleges willful, wanton and

 malicious conduct against Defendants, he would be entitled to punitive damages under West

 Virginia law. See Hayseeds, Inc. v. State Farm Fire & Cas., 352 S.E.2d 73, 80-81 (W. Va.

 1986) (stating punitive damages are proper in first-party insurance suits if the insured can prove

 the insurer acted with actual malice, meaning “the company actually knew that the

 policyholder’s claim was proper, but willfully, maliciously and intentionally denied the claim”).

 Even a modest punitive damages award would satisfy the amount in controversy. See Kenney v.

 Independent Order of Foresters, No. 3:12–CV–123, 2012 WL 6149171, at *4 (N.D. W. Va. Dec.

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                                             -4-
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 5 of 7 PageID #: 5




 11, 2012) (finding where Complaint makes a good faith allegation that defendant willfully,

 maliciously and intentionally denied plaintiff’s insurance claim, punitive damages claim

 augments the amount in controversy); Coleman v. Wicker, No. 2:11–00558, 2012 WL 1111465,

 *3 (S.D. W. Va. Mar. 30, 2012) (applying a one-half multiplier for punitive damages to an

 estimated $63,000 in damages to meet the jurisdictional minimum for diversity); Bryant v. Wal–

 Mart, 117 F. Supp. 2d 555, 556–57 (S.D. W. Va. 2000) (“A good faith claim for punitive

 damages may augment compensatory damages in determining the amount in controversy unless

 it can be said to a legal certainty that plaintiff cannot recover punitive damages in the action.”).

 Using a one-half multiplier for punitive damages to $68,000 in compensatory damages would

 result in a total damages award of $102,000.

        21.     As a result, Plaintiff’s Complaint satisfies the amount in controversy requirement.

 Kenney, 2012 WL 6149171, at *5 (concluding that a “common sense evaluation of the Plaintiff’s

 Complaint and the claims therein prove by a preponderance of the evidence that the amount in

 controversy requirement has been met”).




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                                                                                            8523954 v4


                                             -5-
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 6 of 7 PageID #: 6




         22.   Accordingly, this Court has subject matter jurisdiction over Plaintiff’s claims and

 the State Action is properly removable under 28 U.S.C. Sections 1331, 1332, 1367(a), 1441, and

 1446.

 Date: January 29, 2014              Respectfully submitted,

                                     NATIONAL BETTER LIVING ASSOCIATION, INC.
                                     By Counsel:

                                     /s/ Debra Lee Hovatter
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                                                                                          8523954 v4


                                           -6-
Case 3:14-cv-00015-GMG-RWT Document 1 Filed 01/29/14 Page 7 of 7 PageID #: 7




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        Plaintiff,                   )
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 v.                                  ) Civil Action No. _____________
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 NATIONAL BETTER LIVING ASSOCIATION, )
 INC., AMERICAN MEDICAL AND LIFE     )
 INSURANCE COMPANY, and JOHN/JANE    )
 DOES,                               )
                                     )
         Defendants.                 )

                                 CERTIFICATE OF SERVICE

        I hereby certify that on this 29th day of January, 2014, I have served a copy of the within

 and foregoing NOTICE OF REMOVAL upon all parties to this matter by filing it with the Clerk

 of the Court using the CM/ECF system, which will automatically send notification of such filing

 to the following, or by depositing a true copy of the same in the U.S. Mail, proper postage

 prepaid, properly addressed to the following:

      Laura C. Davis (by CM/ECF)                  American Medical and Life Insurance
      Skinner Law Firm                            Company (by U.S. Mail)
      P.O. Box 487                                c/o Ronald S. Stadler, Esq.
      Charles Town, WV 25414                      Gonzalez Saggio Harlan
      Counsel for Plaintiff                       111 E. Wisconsin Ave., Suite 1000
                                                  Milwaukee, WI 53202



                                                     /s/ Debra Lee Hovatte r
                                                     Debra Lee Hovatter (W. Va. Bar No. 9838)




                                                                                          8523954 v4


                                           -7-
